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   EXHIBIT 3
                Lydon Declaration
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


****************************************

UNITED STATES OF AMERICA,
                                                     Case No.:         1:21-CR-393 (DNH)

       v.


CHRISTOPHER PENCE,


                              Defendant.

****************************************

                           DECLARATION OF PATRICK LYDON
       Pursuant to 28 U.S.C. § 1746 and under penalties of perjury, PATRICK LYDON declares

as follows:

1)     I, Patrick Lydon, am a Special Agent with the Federal Bureau of Investigation (FBI) and

have been since January 2020. In September 2020, I was assigned to the FBI Albany Field Office's

Capital District Safe Streets Gang Task Force (“Safe Streets Task Force”), which is a task force

that investigates, among other crimes, violent crime, gang activity, and drug trafficking, and is

comprised of federal, state, and local law enforcement. Prior to joining the FBI, I served in the

U.S. Army as a commissioned officer on active duty from October 2014 to May 2019. During my

tenure with the FBI, I have participated in the execution of search and arrest warrants, and have

trained extensively in the execution of residential search warrants.

2)     On October 27, 2021, I was part of the team that executed a federal search warrant at the

defendant CHRISTOPHER PENCE’s residence located at 2929 South 6500 West, Cedar City,


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Utah. My primary assignment was to interview the defendant’s wife as part of the investigation

of a murder-for-hire.

3)     As the team of agents entered the residence, the agents held their weapons – a combination

of handguns and rifles – in the “low-ready” position, pursuant to their training and based on

information that the defendant possessed weapons in the residence.

4)     After entering the residence, the team of agents spread out throughout the large house to

ensure there were no safety hazards to the agents and no destruction of evidence taking place. The

defendant’s family, including his wife, parents and children, were escorted from their various

locations around the residence to the first floor living room. At no point did I observe firearms

pointed at the defendant or members of his family. Once the residence was cleared, all of the

agents holstered their handguns or shouldered and/or stowed their rifles in their vehicles. The

agents then set about their assigned tasks, which included interviewing the residents, seizing

evidence and previewing electronic devices, as authorized by the warrant, and photographing the

residence.

5)     None of the adults or children were visibly upset during this process. Furthermore, at no

point was the defendant prevented from speaking with any of his family members as they made

their way to the living room.

6)     I remained in the residence to assist with the execution of the warrant, and to interview the

defendant’s wife, which took place in the master bedroom.

7)     I did not observe any adults or children being prevented from moving about the residence,

or looking out the windows of the residence, once the search of the residence was completed. At

no point did I observe any resident placed in handcuffs. Rather, while the defendant was being

interviewed, the defendant’s wife, parents and children went about their normal activities in the

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living room and kitchen of the house. The attached photographs depict the defendant’s family and

agents inside the kitchen and living room of the residence while the warrant was being executed

and the defendant interviewed.

8)     Because this affidavit is being submitted for the limited purpose of responding to a motion

to suppress evidence, I have not included each and every fact known to me concerning this

investigation. I have set forth only those facts that I believe are necessary to respond to factual

allegations contained in the defendant’s motion to suppress statements and evidence.

       I declare under penalty of perjury that the foregoing is true and correct.



Executed on: January 24, 2023
               Biloxi, Mississippi




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